AO 45 8 (Rev. 06/09) Appearance of Counsel

 

UNHED S'rArEs DrsrRrCr COURT

for the

Western District of Virginia

 

 

BETSY ACKERSON )
nasz )
v. ) Case No. 3:17-cv-00011-NKNI
THE RECTOR AND VISTORS OF UVA )
Defendant )
APPEARANCE OF COUNSEL
To: The clerk of court and all parties of record

I arn admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

The Rector and Visitors of the Universitv of Virqinia

Date: 07/03/2018

CaSe 3217-CV-OOOll-NK|\/|-.]CH

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/s/ Jimmv F. Robinson

 

Attorney ’s signature

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CERTIFICATE OF SERVICE

I hereby certify that on this 3rd day of July, 2018, l electronically filed the foregoing With
the Clerk of the Court using the CM/ECF system, Which Will then send a notification of such

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